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                                                                          FILED: July 6, 2023

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                           No. 23-6246
                                    (7:22-cv-00021-EKD-JCH)
                                      ___________________

        ANDREW FIELDS, III

                     Plaintiff - Appellant

        v.

        FEDERAL BUREAU OF PRISONS; WARDEN STREEVAL; A. W. GOLDEY;
        CAPTAIN BAKER; MITCHELL; MULLINS; NEFF; EWING; GAYHEART;
        SESSONS; FIELDS; SLOAN; NURSE SCOTT; J. ROBBINS; BOLLING;
        GARRETT; SCHOLL; GILBERT; BAKER; BARKER; FARMER;
        DICKENSON; LIEUTENANT LAFFIN; LIEUTENANT NICHOLOUS;
        LIEUTENANT HAMILTON; LIEUTENANT MULLINS; HUGHES; LASTER

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

              Upon consideration of submissions relative to the motion to strike the pro se

        informal opening brief, the court grants the motion and strikes the pro se informal

        opening brief.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
